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13                            UNITED STATES DISTRICT COURT

14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,                No. CR 23-492(A)-PA

16              Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                              RYAN J. WRIGHT
17                    v.

18   RYAN J. WRIGHT,
19
                Defendant.
20

21              This constitutes the plea agreement between RYAN J. WRIGHT
22   (“defendant”) and the United States Attorney’s Office for the Central
23   District of California (the “USAO”) in the above-captioned case.
24   This agreement is limited to the USAO and cannot bind any other
25   federal, state, local, or foreign prosecuting, enforcement,
26   administrative, or regulatory authorities.
27                              DEFENDANT’S OBLIGATIONS
28              Defendant agrees to:
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1               a.    At the earliest opportunity requested by the USAO and

2    provided by the Court, appear and plead guilty to count one of the

3    first superseding indictment (“FSI”) in United States v. RYAN WRIGHT,

4    CR No. 23-492(A)-PA, which charges defendant with conspiracy, in

5    violation of 18 U.S.C. § 371.

6               b.    Not contest the Factual Basis agreed to in this

7    agreement.

8               c.    Abide by all agreements regarding sentencing contained

9    in this agreement.

10              d.    Appear for all court appearances, surrender as ordered

11   for service of sentence, obey all conditions of any bond, and obey

12   any other ongoing court order in this matter.

13              e.    Not commit any crime; however, offenses that would be

14   excluded for sentencing purposes under United States Sentencing

15   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

16   within the scope of this agreement.

17              f.    Be truthful at all times with the United States

18   Probation and Pretrial Services Office and the Court.

19              g.    Pay the applicable special assessment at or before the

20   time of sentencing unless defendant has demonstrated a lack of

21   ability to pay such assessments.

22              h.    Complete the Financial Disclosure Statement on a form

23   provided by the USAO and, within 60 days of defendant’s entry of a

24   guilty plea, deliver the signed and dated statement, along with all

25   of the documents requested therein, to the USAO by either email at

26   usacac.FinLit@usdoj.gov (preferred) or mail to the USAO Financial

27   Litigation Section at 300 North Los Angeles Street, Suite 7516, Los

28   Angeles, CA 90012.       Defendant agrees that defendant’s ability to pay

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1    criminal debt shall be assessed based on the completed Financial

2    Disclosure Statement and all required supporting documents, as well

3    as other relevant information relating to ability to pay.

4               i.    Authorize the USAO to obtain a credit report upon

5    returning a signed copy of this plea agreement.

6               j.    With the exception of the financial affidavit

7    completed on or about October 30, 2023 (Dkt. 11), consent to the USAO

8    inspecting and copying all of defendant’s financial documents and

9    financial information held by the United States Probation and

10   Pretrial Services Office.

11                               THE USAO’S OBLIGATIONS

12              The USAO agrees to:

13              a.    Not contest facts agreed to in this agreement.

14              b.    Abide by all agreements regarding sentencing contained

15   in this agreement.

16              c.    At the time of sentencing, move to dismiss the

17   remaining counts of the FSI and underlying indictment as against

18   defendant.   Defendant agrees, however, that at the time of sentencing
19   the Court may consider any dismissed charges in determining the

20   applicable Sentencing Guidelines range, the propriety and extent of

21   any departure from that range, and the sentence to be imposed.

22              d.    At the time of sentencing, provided that defendant

23   demonstrates an acceptance of responsibility for the offense up to

24   and including the time of sentencing, recommend a two-level reduction

25   in the applicable Sentencing Guidelines offense level, pursuant to

26   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

27   additional one-level reduction if available under that section.

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1               e.    Not further criminally prosecute defendant for federal

2    crimes, including 18 U.S.C. § 1519 (falsification of evidence), 18

3    U.S.C. § 1503 (obstruction of justice), 18 U.S.C. § 1343 (wire

4    fraud), 18 U.S.C. § 1344(2) (attempted bank fraud), and 18 U.S.C.

5    § 1029(a)(2), arising out of defendant’s conduct alleged in the FSI.

6    The USAO further agrees to not criminally prosecute defendant for

7    violations of criminal tax laws for tax years 2018-2022 based on the

8    facts currently known to the government.        Defendant understands that

9    the USAO is free to criminally prosecute defendant for any other

10   unlawful past conduct not presently known to the USAO or any unlawful

11   conduct that occurs after the date of this agreement.           Defendant

12   agrees that at the time of sentencing the Court may consider the

13   dismissed conduct in determining the applicable Sentencing Guidelines

14   range, the propriety and extent of any departure from that range, and

15   the sentence to be imposed after consideration of the Sentencing

16   Guidelines and all other relevant factors under 18 U.S.C. § 3553(a).

17              f.    Other than the mandatory special assessment of $100,

18   agree not to seek a fine.

19                               NATURE OF THE OFFENSE

20              Defendant understands that for defendant to be guilty of

21   the crime charged in count one of the FSI, that is, conspiracy to

22   commit honest services wire fraud, in violation of 18 U.S.C. § 371,

23   the following must be true: (1) there was an agreement between two or

24   more persons to commit honest services wire fraud; (2) defendant

25   became a member of the conspiracy knowing of at least one of its

26   objects and intending to help accomplish it; and (3) one of the

27   members of the conspiracy performed at least one overt act for the

28   purpose of carrying out the conspiracy.

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1               Defendant understands that the elements of honest services

2    wire fraud, in violation of 18 U.S.C. §§ 1343, 1346, are the

3    following: (1) defendant devised or knowingly participated in a

4    scheme or plan to deprive citizens of the County and City of San Luis

5    Obispo of their right to the honest services of County Supervisor 1;

6    (2) the scheme or plan consisted of a bribe in exchange for at least

7    one official act by County Supervisor 1.        The “exchange” may be

8    express or may be implied from all the surrounding circumstances;

9    (3) County Supervisor 1 owed a fiduciary duty to the citizens of the

10   County and City of San Luis Obispo; (4) defendant acted with the

11   intent to defraud by depriving citizens of the County and City of San

12   Luis Obispo of their right to the honest services of County

13   Supervisor 1; (5) defendant’s act was material; that is, it had a

14   natural tendency to influence, or was capable of influencing a person

15   or entity’s acts; and (6) defendant used or caused to be used, an

16   interstate wire communication to carry out or attempt to carry out

17   the scheme or plan. An “official act” means any decision or action on

18   a question, matter, cause, suit, proceeding, or controversy involving
19   the formal exercise of governmental power.         The question, matter,

20   cause, suit, proceeding, or controversy must be pending, or be able

21   by law to be brought, before a public official, and the question,

22   matter, cause, suit, proceeding, or controversy must be something

23   specific and focused, rather than a broad policy objective.            The

24   official’s decision or action may include using his official position

25   to exert pressure on another official to perform an official act, or

26   to advise another official, knowing or intending that such advice

27   will form the basis for an official act by another official.            The

28   bribe recipient need not be the final decisionmaker.           The government

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1    does not need to prove that the official ever actually intended to

2    perform an official act or that the official ever did, in fact,

3    perform an official act, provided that he agreed to do so.            Merely

4    arranging a meeting, hosting an event, or giving a speech, do not

5    qualify as the taking of a specific action.

6                              PENALTIES AND RESTITUTION

7               Defendant understands that the statutory maximum sentence

8    that the Court can impose for a violation of 18 U.S.C. § 371 is: five

9    years’ imprisonment; a three-year period of supervised release; a

10   fine of $250,000 or twice the gross gain or gross loss resulting from

11   the offense, whichever is greatest; and a mandatory special

12   assessment of $100.

13              Defendant understands that defendant will be required to

14   pay full restitution to the victim(s) of the offense to which

15   defendant is pleading guilty.       Defendant agrees that, in return for

16   the USAO’s compliance with its obligations under this agreement, the

17   Court may order restitution to persons other than the victim(s) of

18   the offense to which defendant is pleading guilty, specifically, the
19   individuals and entities set forth in the FSI in Counts 4-21, and in

20   amounts greater than those alleged in the count to which defendant is

21   pleading guilty.     In particular, defendant agrees that the Court may

22   order restitution to any victim of any of the following for any

23   losses suffered by that victim as a result: (a) any relevant conduct,

24   as defined in U.S.S.G. § 1B1.3, in connection with the offenses to

25   which defendant is pleading guilty; and (b) any counts dismissed

26   pursuant to this agreement as well as all relevant conduct, as

27   defined in U.S.S.G. § 1B1.3, in connection with those counts.

28   Defendant agrees that he owes approximately $1,500,000 in restitution

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1    while the government reserves the right to argue that he owes up to

2    approximately $1,906,634.69.       The parties recognize and agree that

3    this amount could change based on facts that come to the attention of

4    the parties prior to sentencing.

5               Defendant understands that supervised release is a period

6    of time following imprisonment during which defendant will be subject

7    to various restrictions and requirements.         Defendant understands that

8    if defendant violates one or more of the conditions of any supervised

9    release imposed, defendant may be returned to prison for all or part

10   of the term of supervised release authorized by statute for the

11   offense that resulted in the term of supervised release, which could

12   result in defendant serving a total term of imprisonment greater than

13   the statutory maximum stated above.

14              Defendant understands that, by pleading guilty, defendant

15   may be giving up valuable government benefits and valuable civic

16   rights, such as the right to vote, the right to possess a firearm,

17   the right to hold office, and the right to serve on a jury.

18   Defendant understands that he is pleading guilty to a felony and that
19   it is a federal crime for a convicted felon to possess a firearm or

20   ammunition.    Defendant understands that the conviction in this case

21   may also subject defendant to various other collateral consequences,

22   including but not limited to revocation of probation, parole, or

23   supervised release in another case and suspension or revocation of a

24   professional license.      Defendant understands that unanticipated

25   collateral consequences will not serve as grounds to withdraw

26   defendant’s guilty plea.

27        10.   Defendant and his counsel have discussed the fact that, and

28   defendant understands that, if defendant is not a United States

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1    citizen, the conviction in this case makes it practically inevitable

2    and a virtual certainty that defendant will be removed or deported

3    from the United States.      Defendant may also be denied United States

4    citizenship and admission to the United States in the future.

5    Defendant understands that while there may be arguments that

6    defendant can raise in immigration proceedings to avoid or delay

7    removal, removal is presumptively mandatory and a virtual certainty

8    in this case.    Defendant further understands that removal and

9    immigration consequences are the subject of a separate proceeding and

10   that no one, including his attorney or the Court, can predict to an

11   absolute certainty the effect of his conviction on his immigration

12   status.   Defendant nevertheless affirms that he wants to plead guilty

13   regardless of any immigration consequences that his plea may entail,

14   even if the consequence is automatic removal from the United States.

15                                    FACTUAL BASIS

16              Defendant admits that defendant is, in fact, guilty of the

17   offense to which defendant is agreeing to plead guilty.           Defendant

18   and the USAO agree to the statement of facts provided below and agree
19   that this statement of facts is sufficient to support a plea of

20   guilty to the charge described in this agreement and to establish the

21   Sentencing Guidelines factors set forth in paragraph 13 below but is

22   not meant to be a complete recitation of all facts relevant to the

23   underlying criminal conduct or all facts known to either party that

24   relate to that conduct.

25        A.    Background

26        Defendant was a Managing Member of PB Companies, LLC (“PB

27   Companies”), a real estate development company in the City of San

28   Luis Obispo (“City”).      Defendant also served as PB Companies’ Chief

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1    Executive Officer until December 1, 2015.         PB Companies had multiple

2    projects in the Central District of California, including in the City

3    and San Luis Obispo County (“County”).

4         At all times relevant to the conspiracy, County Supervisor 1 was

5    an elected member of the San Luis Obispo County Board of Supervisors

6    (“Board of Supervisors”).      The five-member Board of Supervisors was

7    the governing body of the County and had executive, legislative, and

8    quasi-judicial roles.      County Supervisor 1 represented the Third

9    District, which included a majority of the City’s geographical region

10   and population.    County Supervisor 1 voted on matters appearing

11   before the Board of Supervisors, including budget bills that affected

12   the City, and by virtue of his elected position, had influence over

13   matters occurring within the County, including in the City and in the

14   City’s departments and commissions.

15        B.     The Conspiracy

16        Beginning in at least June 2014 and continuing through on or

17   about March 29, 2017, in the County and elsewhere, defendant

18   conspired and agreed with County Supervisor 1 and others to

19   knowingly, willfully, and intentionally commit an offense against the

20   United States, namely, honest services wire fraud, in violation of 18

21   U.S.C. §§ 1343, 1346.

22        Specifically, from approximately June 2014 until March 29, 2017,

23   defendant and County Supervisor 1 engaged in a quid pro quo bribery

24   scheme.   Defendant and County Supervisor 1 agreed that defendant

25   would bribe County Supervisor 1 with payments and other financial

26   benefits.    In exchange, County Supervisor 1 would use his official

27   position to help defendant secure approvals necessary for PB

28   Companies’ real estate development projects, including the San Luis

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1    Square Project.    In violation of his duty of honest services owed to

2    the citizens of the County and City, County Supervisor 1 would, among

3    other things, advise and seek to influence other public officials,

4    including City officials and individuals appointed to City

5    commissions, to perform official acts beneficial to PB Companies’

6    real estate development projects.

7         In total, as part of this arrangement with County Supervisor 1,

8    defendant paid through PB Companies, or arranged for others to pay

9    County Supervisor 1, a total of $94,234 either directly to County

10   Supervisor 1 or through County Supervisor 1’s company, San Luis

11   Consulting LLC.    One such payment, made at defendant’s direction, was

12   an interstate wire transfer of $10,000 from PB Companies to San Luis

13   Consulting LLC on or about November 23, 2016.         In addition, defendant

14   also paid a total of $1,867 for County Supervisor 1’s flight, hotel,

15   and ticket to a major league baseball game in October 2014.

16        Defendant admits that his bribe payments to County Supervisor 1

17   were material acts; that is, they had a natural tendency to

18   influence, or were capable of influencing, the County and its

19   officials, the City and its officials, and the public.

20                                SENTENCING FACTORS

21              Defendant understands that in determining defendant’s

22   sentence the Court is required to calculate the applicable Sentencing

23   Guidelines range and to consider that range, possible departures

24   under the Sentencing Guidelines, and the other sentencing factors set

25   forth in 18 U.S.C. § 3553(a).      Defendant understands that the

26   Sentencing Guidelines are advisory only, that defendant cannot have

27   any expectation of receiving a sentence within the calculated

28   Sentencing Guidelines range, and that after considering the

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1    Sentencing Guidelines and the other § 3553(a) factors, the Court will

2    be free to exercise its discretion to impose any sentence it finds

3    appropriate up to the maximum set by statute for the crime of

4    conviction.

5               Defendant and the USAO agree to the following applicable

6    Sentencing Guidelines factors:

7     Base Offense Level:                 12   U.S.S.G. §§ 2X1.1(a),
                                               2C1.1(a)(2)
8
      More Than One Bribe:                +2 U.S.S.G. § 2C1.1(b)(1)
9
      Value of the Bribe:                 +8 U.S.S.G. §§ 2C1.1(b)(2),
10                                           2B1.1(b)(1)(E)
11    Elected Official:                   +4 U.S.S.G. § 2C1.1(b)(3)
12    Acceptance of Responsibility        -3 U.S.S.G. § 3E1.1(b)
13
      Total Offense Level:                23
14

15   Subject to paragraph 26 below, defendant and the USAO agree not to

16   seek, argue, or suggest in any way, either orally or in writing, that

17   any other specific offense characteristics, adjustments, variances,

18   enhancements, or departures relating to the offense level be imposed.

19   Defendant agrees, however, that if, after signing this agreement but

20   prior to sentencing, defendant were to commit an act, or the USAO

21   were to discover a previously undiscovered act committed by defendant

22   prior to signing this agreement, which act, in the judgment of the

23   USAO, constituted obstruction of justice within the meaning of

24   U.S.S.G. § 3C1.1, the USAO would be free to seek the enhancement set

25   forth in that section and to argue that defendant is not entitled to

26   a downward adjustment for acceptance of responsibility under U.S.S.G.

27   § 3E1.1.   The parties currently agree that defendant is a Criminal

28   History Category II but agree and recognize that defendant’s Criminal

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1    History Category may change based on facts that come to the attention

2    of the parties and/or the United States Probation and Pretrial

3    Services Office prior to sentencing.

4               Defendant and the USAO reserve the right to argue for a

5    sentence outside the sentencing range established by the Sentencing

6    Guidelines based on the factors set forth in 18 U.S.C. §§ 3553(a)(1),

7    (a)(2), (a)(3), (a)(6), and (a)(7).

8                            WAIVER OF CONSTITUTIONAL RIGHTS

9               Defendant understands that by pleading guilty, defendant

10   gives up the following rights:

11              a.    The right to persist in a plea of not guilty.

12              b.    The right to a speedy and public trial by jury.

13              c.    The right to be represented by counsel –- and if

14   necessary have the Court appoint counsel -- at trial.            Defendant

15   understands, however, that, defendant retains the right to be

16   represented by counsel –- and if necessary have the Court appoint

17   counsel –- at every other stage of the proceeding.

18              d.    The right to be presumed innocent and to have the
19   burden of proof placed on the government to prove defendant guilty

20   beyond a reasonable doubt.

21              e.    The right to confront and cross-examine witnesses

22   against defendant.

23              f.    The right to testify and to present evidence in

24   opposition to the charges, including the right to compel the

25   attendance of witnesses to testify.

26              g.    The right not to be compelled to testify, and, if

27   defendant chose not to testify or present evidence, to have that

28   choice not be used against defendant.

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1               h.    Any and all rights to pursue any affirmative defenses,

2    Fourth Amendment or Fifth Amendment claims, and other pretrial

3    motions that have been filed or could be filed.

4               Having been fully advised by defendant’s attorney regarding

5    application of the statute of limitations to the offense to which

6    defendant is pleading guilty, defendant hereby knowingly,

7    voluntarily, and intelligently waives, relinquishes, and gives up:

8    (a) any right that defendant might have not to be prosecuted for the

9    offense to which defendant is pleading guilty because of the

10   expiration of the statute of limitations for that offense prior to

11   the filing of the indictment alleging that offense; and (b) any

12   defense, claim, or argument defendant could raise or assert that

13   prosecution of the offense to which defendant is pleading guilty is

14   barred by the expiration of the applicable statute of limitations,

15   pre-indictment delay, or any speedy trial violation.

16                           WAIVER OF APPEAL OF CONVICTION

17              Defendant understands that, with the exception of an appeal

18   based on a claim that defendant’s guilty plea was involuntary, by
19   pleading guilty defendant is waiving and giving up any right to

20   appeal defendant’s conviction on the offense to which defendant is

21   pleading guilty.    Defendant understands that this waiver includes,

22   but is not limited to, arguments that the statute to which defendant

23   is pleading guilty is unconstitutional, and any and all claims that

24   the Factual Basis provided herein is insufficient to support

25   defendant’s plea of guilty.

26                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

27              Defendant agrees that, provided the Court imposes a total

28   term of imprisonment on all counts of conviction of no more than 60

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1    months’ imprisonment, defendant gives up the right to appeal all of

2    the following: (a) the procedures and calculations used to determine

3    and impose any portion of the sentence, with the exception of the

4    Court’s criminal history calculation if the Court determines that

5    defendant’s criminal history is understated and finds an upward

6    departure of defendant’s criminal history category is appropriate

7    under U.S.S.G. § 4A1.3(a); (b) the term of imprisonment imposed by

8    the Court; (c) the fine imposed by the Court, provided it is no more

9    than $20,000; (d) to the extent permitted by law, the

10   constitutionality or legality of defendant’s sentence, provided it is

11   within the statutory maximum; (e) the amount and terms of any

12   restitution order, provided it requires payment of no more than

13   $1,906,634.69; (f) the term of probation or supervised release

14   imposed by the Court, provided it is within the statutory maximum;

15   and (g) any of the conditions of probation or supervised release

16   imposed by the Court as set forth in Second Amended General Order 20-

17   04 of this Court,       the drug testing conditions mandated by 18 U.S.C.

18   §§ 3563(a)(5) and 3583(d), and the alcohol and drug use conditions

19   authorized by 18 U.S.C. § 3563(b)(7).

20              Defendant also gives up any right to bring a post-

21   conviction collateral attack on the conviction or sentence, except a

22   post-conviction collateral attack based on a claim of ineffective

23   assistance of counsel, a claim of newly discovered evidence, or an

24   explicitly retroactive change in the applicable Sentencing

25   Guidelines, sentencing statutes, or statutes of conviction.

26   Defendant understands that this waiver includes, but is not limited

27   to, arguments that the statute to which defendant is pleading guilty

28   is unconstitutional, and any and all claims that the Factual Basis

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1    provided herein is insufficient to support defendant’s plea of

2    guilty.

3               The USAO agrees that, provided (a) all portions of the

4    sentence are at or below the statutory maximum specified above and

5    (b) the amount of restitution ordered if that amount is equal to or

6    greater than $1,906,634.69, the USAO gives up its right to appeal any

7    portion of the sentence.

8                       RESULT OF WITHDRAWAL OF GUILTY PLEA

9               Defendant agrees that if, after entering a guilty plea

10   pursuant to this agreement, defendant seeks to withdraw and succeeds

11   in withdrawing defendant’s guilty plea on any basis other than a

12   claim and finding that entry into this plea agreement was

13   involuntary, then (a) the USAO will be relieved of all of its

14   obligations under this agreement; and (b) should the USAO choose to

15   pursue any charge that was either dismissed or not filed as a result

16   of this agreement, then (i) any applicable statute of limitations

17   will be tolled between the date of defendant’s signing of this

18   agreement and the filing commencing any such action; and

19   (ii) defendant waives and gives up all defenses based on the statute

20   of limitations, any claim of pre-indictment delay, or any speedy

21   trial claim with respect to any such action, except to the extent

22   that such defenses existed as of the date of defendant’s signing this

23   agreement.

24                           EFFECTIVE DATE OF AGREEMENT

25              This agreement is effective upon signature and execution of

26   all required certifications by defendant, defendant’s counsel, and an

27   Assistant United States Attorney.

28

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1                                 BREACH OF AGREEMENT

2               Defendant agrees that if defendant, at any time after the

3    signature of this agreement and execution of all required

4    certifications by defendant, defendant’s counsel, and an Assistant

5    United States Attorney, knowingly violates or fails to perform any of

6    defendant’s obligations under this agreement (“a breach”), the USAO

7    may declare this agreement breached.       All of defendant’s obligations

8    are material, a single breach of this agreement is sufficient for the

9    USAO to declare a breach, and defendant shall not be deemed to have

10   cured a breach without the express agreement of the USAO in writing.

11   If the USAO declares this agreement breached, and the Court finds

12   such a breach to have occurred, then: (a) if defendant has previously

13   entered a guilty plea pursuant to this agreement, defendant will not

14   be able to withdraw the guilty plea, and (b) the USAO will be

15   relieved of all its obligations under this agreement.

16              Following the Court’s finding of a knowing breach of this

17   agreement by defendant, should the USAO choose to pursue any charge

18   that was either dismissed or not filed as a result of this agreement,
19   then:

20              a.    Defendant agrees that any applicable statute of

21   limitations is tolled between the date of defendant’s signing of this

22   agreement and the filing commencing any such action.

23              b.    Defendant waives and gives up all defenses based on

24   the statute of limitations, any claim of pre-indictment delay, or any

25   speedy trial claim with respect to any such action, except to the

26   extent that such defenses existed as of the date of defendant’s

27   signing this agreement.

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1               c.    Defendant agrees that: (i) any statements made by

2    defendant, under oath, at the guilty plea hearing (if such a hearing

3    occurred prior to the breach); (ii) the agreed-to factual basis

4    statement in this agreement; and (iii) any evidence derived from such

5    statements, shall be admissible against defendant in any such action

6    against defendant, and defendant waives and gives up any claim under

7    the United States Constitution, any statute, Rule 410 of the Federal

8    Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

9    Procedure, or any other federal rule, that the statements or any

10   evidence derived from the statements should be suppressed or are

11   inadmissible.

12          COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

13                                OFFICE NOT PARTIES

14              Defendant understands that the Court and the United States

15   Probation and Pretrial Services Office are not parties to this

16   agreement and need not accept any of the USAO’s sentencing

17   recommendations or the parties’ agreements to facts or sentencing

18   factors.
19              Defendant understands that both defendant and the USAO are

20   free to: (a) supplement the facts by supplying relevant information

21   to the United States Probation and Pretrial Services Office and the

22   Court, (b) correct any and all factual misstatements relating to the

23   Court’s Sentencing Guidelines calculations and determination of

24   sentence, and (c) argue on appeal and collateral review that the

25   Court’s Sentencing Guidelines calculations and the sentence it

26   chooses to impose are not error, although each party agrees to

27   maintain its view that the calculations in paragraph 13 are

28   consistent with the facts of this case.        This paragraph permits both

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1    the USAO and defendant to submit full and complete factual

2    information to the United States Probation and Pretrial Services

3    Office and the Court, even if that factual information may be viewed

4    as inconsistent with the Factual Basis or Sentencing Factors agreed

5    to in this agreement.

6               Defendant understands that even if the Court ignores any

7    sentencing recommendation, finds facts or reaches conclusions

8    different from those agreed to, and/or imposes any sentence up to the

9    maximum established by statute, defendant cannot, for that reason,

10   withdraw defendant’s guilty plea, and defendant will remain bound to

11   fulfill all defendant’s obligations under this agreement.           Defendant

12   understands that no one –- not the prosecutor, defendant’s attorney,

13   or the Court –- can make a binding prediction or promise regarding

14   the sentence defendant will receive, except that it will be within

15   the statutory maximum.

16                             NO ADDITIONAL AGREEMENTS

17              Defendant understands that, except as set forth herein,

18   there are no promises, understandings, or agreements between the USAO
19   and defendant or defendant’s attorney, and that no additional

20   promise, understanding, or agreement may be entered into unless in a

21   writing signed by all parties or on the record in court.

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 1                  PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
 2          29.   The parties agree that this agreement will be considered

 3    part of the record of defendant's guilty plea hearing as if the

 4    entire agreement had been read into the record of the proceeding.
 5    AGREED AND ACCEPTED

 6    UNITED STATES ATTORNEY'S OFFICE
      FOR THE CENTRAL DISTRICT OF
 7    CALIFORNIA

 8    E. MARTIN ESTRADA
      United States Attorney
 9

10                                                    September 9, 2024
      THOMAS F. RYBARCZYK                            Date
11    BILLY JOE MCLAIN
      DANIEL J. O'BRIEN
12    Assistant United States Attorneys

13                 ~t-<
14   )(YAN J. WRIGHT                                 Date
      Defend
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                                                     Date
17                  Defendant RYAN J.

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 1                              CERTIFICATION OF DEFENDANT

 2           I have read this agreement in its entirety.       I have had enough
 3     time to review and consider this agreement, and I have carefully and

 4     thoroughly discussed every part of it with my attorney.         I understand

 5     the terms of this agreement, and I voluntarily agree to those terms.

 6     I have discussed the evidence with my attorney, and my attorney has

 7     advised me of my rights, of possible pretrial motions that might be

 8     filed, of possible defenses that might be asserted either prior to or

 9     at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),

10     of relevant Sentencing Guidelines provisions, and of the consequences

11     of entering into this agreement.      No promises, inducements, or

12     representations of any kind have been made to me other than those

13     contained in this agreement.     No one has threatened or forced me in

14     any way to enter into this agreement.      I am satisfied with the

15     representation of my attorney in this matter, and I am pleading

16     guilty because I am guilty of the charge and wish to take advantage

17     of the promises set forth in this agreement, and not for any other

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20     j&AN J. WRIGHT                               Date
       Defendant
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 1                       CERTIFICATION OF DEFENDANT'S ATTORNEY
 2          I am RYAN J. WRIGHT's attorney.      I have carefully and thoroughly

 3    discussed every part of this agreement with my client.         Further, I

 4    have fully advised my client of his rights, of possible pretrial

 5    motions that might be filed, of possible defenses that might be

 6    asserted either prior to or at trial, of the sentencing factors set

 7    forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines

 8    provisions, and of the consequences of entering into this agreement.
 9    To my knowledge: no promises, inducements, or representations of any

10    kind have been made to my client other than those contained in this

11    agreement; no one has threatened or forced my client in any way to

12    enter into this agreement; my client's decision to enter into this

13    agreement is an informed and voluntary one; and the Factual Basis set

14    forth in this agreement is sufficient to support my client's entry of

15    a guilty plea pursuant to this agreement.




      Attorney       Defendant RYAN J.
18    WRIGHT

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